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Steven D. Grierson

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Attorneysfor Plainti]j”Sarkis K. Semerdjian

DISTRICT COURT

CLARK COUNTY, NEVADA
A-18-771174-C

 

SARKIS K. SEMERDJIAN. an individual, Case No.:
Dept. NO.: Department 22
Plaintiff,
COMPLAINT
vs.
DEMAND FOR JURY TRIAL
GEICO CASUALTY COMPANY, a
oorporatjon; DOES l through X; and R.OE Arbitration Exemptions:
CORPORATIONS l through X, inclusive, 1. Action for Declaratory Relief
2. Damages in Excess of $50,000
Defendants.

 

 

Plaintiff, SARKIS K. SEMERDJIAN, by and through his attorneys of record, the law firm
MAIER GUTIERREZ & ASSOCIATES hereby demands a trial by jury and complains and alleges against

defendants as follows:
PARTIES AND JURISDICTION
l. Plaintiff SARKIS K. SEMERDJIAN is, and at all times relevant hereto Was, a resident

of Clarl< County, Nevada.
2. Upon information and belief, defendant GEICO CASUALTY COMPANY

(“GEICO”) is, and at all times relevant hereto was, a corporation organized under the laws of the state

of Nevada.

3. Upon information and belief, each of the defendants sued herein as defendants DOES

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l-X, inclusive, are responsible in some manner for the events and happenings herein referred to, which
thereby proximately caused the injuries and damages to plaintiff as alleged herein; that when the true
names and capacities of such defendants become known, plaintiff will ask leave of this Court to
amend this complaint to insert the true names, identities and capacities together with proper charges
and allegations

4. Upon information and belief, each of the defendants sued herein as ROE
CORPOATIONS I-X, inclusive, are responsible in same manner for the events and happenings herein
referred to, which thereby proximately caused the injuries and damages to plaintiff as alleged herein;
that when the true names and capacities of such defendants become known, plaintiff will ask leave of
this Court to amend this complaint to insert the true names, identities and capacities together with
proper charges and allegations.

5. At all relevant times, defendants, and each of them, were the agents, ostensible agents,
servants, employees, employers, partners, co-owners and/or joint venturers of each other and of their
co-defendants, and were acting within the color, purpose and scope of their employment, agency,
ownership and/or joint ventures and by reason of such relationships with defendants, and each of
them, are vicariously and jointly and severally responsible and liable for the acts and/or omissions of
their co-defendants.

6. Plaintiffs complaint states a controversy over which this Court has jurisdiction and
venue is properly in this Court as the policy of insurance in question was sold and delivered in Clark
County, Nevada, and the claim in controversy resulted from an insured loss in Clark County, Nevada.
This matter in controversy exceeds, exclusive of interests and costs, the minimum jurisdictional
amount ofthe Court of$15,000.00.

GENERAL ALLEGATIONS

7. That plaintiff SARKIS SEMERDJIAN is, and at all times mentioned herein was, the
operator of a 2008 Nissan Quest.

8. That non-party DONALD BOYSAL is, and at all times mentioned herein was, the
operator of a 2005 Chevrolet Silverado

9. On or about December lO, 2014, in Clark County, Nevada, non-party DONALD

 

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BOYSAL failed to use due care, and struck the vehicle of plaintiff SARKIS SEMERDJIAN.

lO. Upon information and belief, defendant GEICO was notified of plaintiff SARKIS
SEMERDJIAN’S Uninsured Motorist Claim (“UIM”) on or about November 19, 2015.

ll. Defendant GEICO acknowledged receipt and notice of the UIM claim on or about
November 25, 2015.

12. On or about December 2, 2015, defendant GEICO sent a letter enclosing forms to be
executed and returned to process plaintiff, SARKIS SEMERDJIAN’s UIM claim.

13. On or about February 18, 2016, a medical payments submission was sent to GElCO
enclosing medical and billing records incurred to date for plaintiff, SARKIS SEMERDJIAN. _

l4. On or about March 15, 2016, defendant GEICO sent a letter requesting an update on
plaintiff, SARKIS SEMERDJIAN’s file with reports and documentation

15. On or about October 12, 2016, plaintiff SARKIS SEMERDJIAN made a formal
written demand to defendant GEICO for all applicable policy limits under the Policy advising
SARKIS SEMERDJIAN’s medical specials at that time were in an excess of $62,217.25 with future
specials totaling $29,400.00 to $41,400.00.

16. The policy limits demand included all information necessary for defendant GElCO
evaluate the demand and pay the policy limits.

l7. On or about October 27, 20l6, defendant GEICO responded to the policy limits
demand by requesting f1ve (5) years of medical records with films along with any current films, list
of medical providers, and an executed HIPPA authorization from plaintiff, SARKIS SEMERDJIAN.

18. On or about December 21, 2016, defendant GEICO sent a letter requesting an update
on prior medical records from plaintiff, SARKIS SEMERDJIAN.

19. On or about February 22, 2017, defendant GEICO’s counsel Katherine M. Barker,
Esq., faxed a letter requesting to intervene as the underinsured carrier for plaintiff, SARKIS
SEMERDJIAN, enclosing a stipulation and order to intervene for execution on behalf of both parties
in case Sarkz's Semera'jian v. Donald Boysal, Case No. A-15-728232-C.

20. Defendant, GEICO, filed the stipulation and order to intervene almost four (4) months

later on June 16, 2017.

 

 

 

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21. On or about July 24, 2017, defendant GEICO filed a Demand for Prior Pleadings and
Discovery and Intervenor’s Answer in Intervention in the above-referenced matter.

22. On or about August l6, 2017, plaintiff, SARKIS SEMERDJIAN filed Plaintiffs
Response to lntervenor’s Demand for Prior Pleadings and Discovery, including all pleadings and
discovery to date.

23. Defendant GEICO was registered to the Court’s electronic service list as of February
2, 2017, which put them on notice as plaintiffs medical and billing records were being supplemented
and rising from $64,122.25 with future specials as listed in plaintiffs third supplement to $90,365.57
with future specials as listed in plaintiffs seventh supplement

24. Defendant GEICO had been well aware of plaintiffs medical and billing records and
had immediate access to those supplements since February 2, 2017.

25, On August 15, 2017, a mandatory settlement conference was held in the above-
referenced matter (Case No. A-15-728232-C).

26. Michael Rawlings, Esq. was in attendance at the mandatory settlement conference on
behalf of GEICO.

27. GEICO indicted that it was unaware of plaintiff, SARKIS SEMERDJIAN’s injuries,
treatment, and medical charges at that time.

28. On or about August l7, 2017, a letter was sent to GEICO’s counsel regarding the
mandatory settlement conference that was held on August 15, 2017, advising G`EICO to tender the
UIM policy of $100,000.00 and reminding GEICO that plaintiffs medical specials were in an excess
of $90,000.00 with future specials in the range of$15,500.00 to $21,500.00.

29. On or about August 28, 2017, defendant GEICO’s counsel faxed a responsive letter
indicating the original demand sent to GEICO did not contain the $90,000.00 plus in claimed medical
expenses and they would not be accepting plaintiffs demand for the UIM claim.

30. On or about February 6, 2018, a second demand was sent to defendant GEICO
containing further information and documentation regarding additional medical specials incurred
since the last demand. and requesting that GEICO make a claims decision on the UIM claim.

31. To date, GEICO has failed to provide a claims decision on plaintiffs UIM claim.

 

 

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32. GEICO has refused to properly evaluate plaintiffs UIM claim and instead has piggy-
backed off the evaluation conducted by non-party DONALD BOYSAL.

33. Defendant GEICO’S refusal to properly or fairly evaluate or adjust this claim, or
timely pay the Policy’s limits demand, was made without a reasonable basis in fact or law.

34. Defendant GEICO’s refusal to properly or fairly evaluate or adjust this claim, or timely
pay the Policy’s limits demand, was made in bad faith and/or for the purpose of denying the benefits
of contract for underinsured/uninsured motorist coverage to plaintiff,

35. Defendant GEICO’s refusal to properly or fairly evaluate or adjust this claim, or timely
pay the Policy’s limits demand, was an unlawful attempt to force plaintiff to accept money less than
the amount due under the Policy.

36. Defendant GEICO’s refusal to pay plaintiff the benefits due under the applicable
contracts of insurance was malicious, willful and intentional, and, in fact, did cause injury to plaintiff
in excess of$15,000.00.

37. Defendant GEICO’s actions justify an award_of punitive damages.

38. Plaintiff has been required to engage the services of an attorney, and accordingly, has
incurred attorney’s fees and costs to bring this action.

FIRST CLAIM FOR RELIEF
(DECLARATORY RELIEF)

39. Plaintiff repeats and realleges each and every allegation of the preceding paragraphs
of the complaint as though fully set forth herein and incorporates the same herein by reference.

40. An actual controversy exists between plaintiff SARKIS SEMERDJIAN on the one
hand, and defendant GEICO, on the other hand, arising out of the event alleged herein above.
Specifically, plaintiff contends that defendant GEICO has no legal basis for refusing to pay fully the
benefits due plaintiff in accordance with the terms of the Policy and within Nevada law.

41. Upon information and belief, defendant GEICO disputes plaintiff s contentions herein.

42. Plaintiff therefore seeks declaratory relief from this Court with respect to said
controversies, and a judicial determination of the rights and responsibilities of the parties and of all

appropriate remedies available to them.

 

 

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SECOND CLAIM FOR RELIEF
(BREACH oF CoNTRACT)

43. Plaintiff repeats and realleges each and every allegation of the preceding paragraphs
of the complaint as though fully set forth herein and incorporates the same herein by reference.

44. Plaintiff SARKIS SEMERDJIAN and defendant GEICO were bound by a contractual
relationship pursuant to the Policy.

45. The actions of defendant GEICO, as described herein, constituted a breach of contract
between itself and plaintiff, and as a direct result thereof, plaintiff have been damaged in a sum in
excess of$15,000.

46. As a direct and proximate result of the wrongful conduct of defendant GEICO, plaintiff
has suffered, and will continue to suffer in the future, damages in excess of $15,000.00, to be proven
at trial.

47. As a direct and proximate result of the wrongful conduct of defendant GEICO, plaintiff
has been compelled to retain counsel to obtain the benefits of the bargain negotiated by the parties
within the Insurance Policy. Defendant GEICO is liable to plaintiff for the attomey’s fees and costs
incurred in enforcing the terms of the Policy.

THIRD CLAIM FOR RELIEF
(BREACH oF CovENANT oF Gooi) FAITH ANI) FArR DEALING)

48. Plaintiff repeats and realleges each and every allegation of the preceding paragraphs
of the complaint as though fully set forth herein and incorporates the same herein by reference.

49. Defendant GEICO has tortuously breached its duty of good faith hand fair dealing
owed to plaintiff in the following respects:

a. Unreasonably misrepresenting to plaintiff pertinent facts and Policy provisions
in relation to the insurance coverage at issue;

b. Unreasonably refusing to acknowledge and act reasonably promptly upon
communications With respect to claims arising under insurance policies;

c. Bad faith failure to adopt and implement reasonable standards for the prompt

investigation and processing of claims arising under insurance policies;

 

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d. Not attempting in good faith to effectuate a prompt, fair and equitable
resolution of plaintiff s claims at a time when liability was reasonably clear;

e. Bad faith failure to provide to provide a reasonable explanation of the basis
relied upon in the Policy, in relation to the applicable facts and laws, for its
refusal to pay fully the benefit due under the Policy; and

f. Maintaining and enforcing a business practice of forcing claimants such as
plaintiff to initiate litigation in order to enforce rights owed under defendant’s
policies.

50. Upon information and belief, defendant GEICO has breached its duty of good faith
and fair dealing owed to plaintiff by other acts or omissions of which plaintiff is presently unaware
Plaintiff will seek leave of the Court to amend this complaint at such times as the other acts or
omissions of defendant GEICO constitutes such breach are discovered, and to name such additional
defendants as may be identified during discovery.

51 . As a direct and proximate result of the wrongful conduct of defendant GEICO, plaintiff
has suffered, and will continue to suffer in the future, damages in excess of $15,000.00, to be proven
at trial.

52. As a direct and proximate result of the wrongful conduct of defendant GEICO, plaintiff
has been compelled to retain counsel to obtain the benefits of the bargain negotiated by the parties
within the Policy. Defendant GEICO is liable to plaintiff for the attorney’s fees and costs incurred in
enforcing the terms of the Policy.

53. The wrongful conduct of defendant GEICO, as described herein, was intended to cause
injury to plaintiff, or was despicable conduct carried on by defendant GEICO with a willful and
conscious disregard of rights and was an intentional misrepresentation, deceit or concealment of
material facts known to defendants, and each of them, with the intention, implied or in fact, to deprive
plaintiffs of property, legal rights, or fraud within NRS 42.005, entitling plaintiff to punitive and/or
exemplary damages in an amount appropriate to punish and/or set an example of defendant GEICO.
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l`+`()URTH` CLAIM FOR RELIEF
(UNFAIR PRACT!CES lN SETTLING CLAIM)

54. Plaintiff repeats and realleges each and every allegation of the preceding paragraphs
of the complaint as though fully set forth herein and incorporates the same herein by reference

55. As entities engaged in the business of insurance in Nevada, defendant GElCO, is, and
at all relevant times was, an entity regulated by law within NRS Chapter 686A.

56. As an insured under the Policy with defendant GEICO, plaintiff is a member of the
class of persons sought to be protected within NRS 686A.310, from which law plaintiff derives a
private cause of action against defendant GEICO.

57. By the acts and omissions as alleged herein, defendant GEICO has violated its duties
set forth in NRS 686A.310, in the following particulars:

a. Failing to acknowledge and act reasonably promptly upon communications
with respect to claims arising under insurance policies, as prohibited by NRS
§ 686A.310(1)(b);

b. Failing to adopt and implement reasonable standards for the prompt
investigation and processing of claims arising under insurance policies as
prohibited by NRS § 686A.310(1)(c);

c. Failing to affirm or deny coverage of claims within a reasonable time after
proof of loss requirements had been completed and submitted by plaintiff, as
prohibited by NRS § 686A.310(1)(d);

d. Failing to effectuate prompt, fair and equitable settlements of claims in which
liability of the insurer has become reasonably clear as prohibited by NRS §
686A.310(1)(e);

e. Compelling an insured to litigate to recover benefits due under insurance
policies as prohibited by NRS § 686A.310(1)(f); and

f. Failing to provide promptly to an insured a reasonable explanation of the basis
in the insurance policy, with respect to the facts of the insured’s claim and the

applicable law, for the denial of the claim or for an offer to settle or

 

 

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compromise the claim,

58. Defendant GEICO never attempted to settle plaintiffs claim for an amount to which
a reasonable person would have believed he/she was entitled by reference to written or printed
advertising material accompanying or made part of an application, in violation of NRS §
686A.310(1)(g).

59. As a direct and proximate result of the wrongful conduct of defendant GEICO, plaintiff
has suffered, and will continue to suffer in the future, damages in excess of 815,000.00, to be proven
at trial.

60. As a direct and proximate result of the wrongful conduct of defendant GEICO, plaintiff
has been compelled to retain counsel to obtain the benefits of the bargain negotiated by the parties
within the Policy.

61. Defendant is liable to plaintiff for the attorney’s fees and costs incurred in enforcing
the terms of the Insurance Policy.

62. The wrongful conduct of defendant GEICO, as described herein, was intended to cause
injury to plaintiff, or was despicable conduct carried on by defendant GEICO, with a willful and
conscious disregard of rights and was an intentional misrepresentation, deceit or concealment of
material facts known to defendant GEICO with the intention, implied or in fact, to deprive plaintiff
of property, legal rights, or fraud within NRS 42.005, entitling plaintiffs to punitive and/or exemplary
damages in an amount appropriate to punish and/or set an example of defendant GEICO.

PRAYER FOR RELIEF

WHEREFORE, plaintiff pray for judgment against defendants, and each of them, as follows:

1. For a declaration and order that defendant GEICO’s refusal to pay benefits due
plaintiff under the insurance contract is unlawful;

2. For damages for failure to honor the terms of the Policy and other consequential
damages, plus interest as provided by laW, including prejudgment and statutory interest, in sums to
be determined at trial;

3. For punitive and/or exemplary damages in an amount appropriate to punish and/or set

an example of defendant GEICO;

 

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4. For compensatory and/or consequential damages in accord with proof adduced at the
time of trial;
5. For attorney’s fees reasonably incurred to enforce plaintiffs rights within the Policy

and at law, in a sum to be determined at the time of trial pursuant to applicable law, including NRS

18.010 and 689A.410;
6. For costs of suit incurred herein; and
7. For such other and further relief as the Court may deem appropriate

DATED this 15th day of March, 2018.
Respectfully submitted,

MAIER GUTIERREZ & ASSOClATES

/s/ .foseph A. Gutierrez

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Nevada Bar No. 9046

STEPHEN G. CLOUGH, ESQ.

Nevada Bar No. 10549

8816 Spanish Ridge Avenue

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Attorney.s' for Plafn£ijj‘"Sarkis K. Semerdjian

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Attorneysfor Plaintijj”Sarkis K. Semerdjian
DISTRICT COURT
CLARK COUNTY, NEVADA

 

A-'18-771174-C

SARKIS K. SEMERDJIAN an individual, Case No.:
Dept. No.: Department 22
Plaintiff,
INITIAL APPEARANCE FEE
vs. DISCLOSURE (NRS CHAPTER 19)

GEICO CASUALTY COMPANY, a
eorporation; DOES I through X; and ROE
CORPORATIONS 1 through X, inclusive,

Defendants.

 

 

Pursuant to NRS Chapter 19, as amended by Senate Bill 106, filing fees are submitted for
parties appearing in the above-entitled action as indicated below:

SARKIS K. SEMERDJIAN $270.00

TOTAL: 8270.00

DATED this 15th day of March, 2018.

MAIER GUTIERREZ & AssoclATEs

/11~'/ Josep!r A. Gurt`errez
JosEPH A. GUT!ERREZ, ESQ.
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Al'torneysfor Plaintij'Sa)'/a's K. Semerdjz`an

DISTRICT COURT
CLARK COUNTY, NEVADAA_1 8_771 174_C

 

_ _ v Department 22
SARKIS K. SEMERDJIAN. an lndxvidual, Case No.:

Dept. No.:
Plaintiff,

VS SUMMONS - CIVIL

GEICO CASUALTY COMPANY, a
corporation; DOES l through X; and ROE
COKP ORATIONS I through X, inclusive,

Defendants.

 

 

NOTICE! YOU HAVE BEEN SUED. THE COURT MAY DECIDE AGAINST YOU
WITHOUT YOU`R BEING HEARD UNLESS YOU RESPOND WITHIN 20 DAYS. READ
THE lNFORMATION BELOW.

GEICO CASUALTY COMPANY

A civil complaint has been filed by the Plaintiff against you for the relief set forth in the
complaintl

1. If you intend to defend this lawsuit, within 20 days after this Summons is served on
you, exclusive of the day of service, you must do the following:

(a) File with the Clerk of the Court, whose address is shown below, a formal
Written response to the Complaint in accordance with the rules of the Court,

with the appropriate filing fee.

(b) Serve a copy of your response upon the attorney whose name and address is

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Case Number: A-18-771174-C

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shown below.

2. Unless you respond, your default will be entered upon application of the Plaintiffs and
failure to so respond will result in a judgment of default against you for the relief demanded in the
complaint, which could result in the taking of money or property or other relief requested in the
complaint

3. If you intend to seek the advice of an attorney in this matter, you should do so promptly
so that your response may be filed on time.

4. The St__ate of Nevada, its political subdivisions, agencies, officers, employees, board
members, commission members and legislators each have 45 days after service of this Summons

within which to file and Answer or other responsive pleading to the complaint

CLERK Oll:wh T1-11; COUR

Deputy Cl¢rk |vonne deroandékt€
Regional Justice Court

200 Lewis Avenue
Las Vegas, Nevada 89155

 

Respectfully submitted,

MAIE “1ERREZ & ASSOCIATES

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Jo"` 11 rrn-:Rnr.z, ESQ.
l va a Bar No. 9046
»'STEPHEN G. CLoUGH, ESQ.
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Attorneysfor Pi'az'ntiffSar kis K. Seme) djz'an

 

 

 

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ATTORNEV OR PARTV Wl`l HOL|T ATTORNEY €Name Slale Bar number and addressi FOR COURT U$E ONLY

TEiEPHONE No
E~MA|L AooREss
ArroRNEY FoR
D|STR|CT COU RT - CLARK COUNTY. NEVADA
sTREE AoDREss 200 S. ThiI'Cl St.
MA\L\NG ADDRESS-_ 200 S. 'l`l\i!'d St.
eer mo zip cooE Las Vegas, NV 89155
annum NAME Distriei Court - C lark County. Nevada

FAX NO

 

 

Cnso Nun»ner

PLA\NT|FF/PETiTloNER: Semcrdjian

_ A»18-771174-C
DEFENDANT/RESPONDENT: Geico Casually

 

Rcl No urFilc NO

PROOF OF SERV|CE OF SUMMONS Maier/554326

 

 

 

 

{Supsraro proof of serv/ce ls requlrud for each party servad.)

1. At the time of service I was et least 18 years of age and not a party to this action.

2. l Served copies Of! Summons and Coinplaint; Civil Cover Sheet

3. a. Party served: Gcico Casualty Company, a corporation

CT Corp., Agent for Service, Vivian lmperial - Authorized Person for Service
PURSUANT TO N. R. S. 14. 020

818 W. 7th St., Ste. 930,1,0$ Angeles, CA 90017

b. Person served:

4. Address where the party was served:

5. l served the party
a. by personal service. | personally delivered the documents listed in item 2 to the party or person authorized to

receive service of process for the party (1) on (date): Mar, 28 2018 (2) at (time): ]2;57 pM

6. The "Notice to the Person Served" (0n the summons) was completed as follows:
d. On behalf of:

  

 

  

 

 

Geico Casualty Company, a corporation ' --=-¢-asEt¢-==-"
under the following Code of Civil Procedure section: CCP 416.10 (corporation) 5%§ §
OYW§§
7. Person who served papers _ _NorARiAL Ju§;r § : 83 §E§
a. Name: Dclberl Salgado - Szmo Attorney Service §Lat::c?ifb::"f°?'Savivg_:ut;lyo‘:f mrme_ ) b ff 40 §g§§ §
b. Address: 1>.0. cox 1568,R1versrde. CA 92502 on this 131 day of £'I, ° °rzeom‘ep >-.i:ag-?
c, Telephone number: (90.9) 425-2248 by Q_ f- / 5a o' ""' EE§§§
d. The fee for service was: $ proved to me on the asia of sati story err nce §8 §
e. l am: (3) registered Ca|ifornia process server: to 59 me €FSD 5 -*l'lG peare b fora m -
(i) Employee or independent contractor - xi / "
pp Regisiration No.: PSC24.13 S'Q"ature - f /" F 1 5
111) County: Orange / ‘_
nmi-ESle

8. l declare under penalty of perjury under the laws of the State o

Date'. MarCl1 29, 2018
Delbeit Salg_ado

(NAME OF PERSON WHO $ERVEU PAPERS/$H|ZR|FF OR MARSHAL_|

  

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Judicial Couni:rl 01 Cahfomla
POS-010 [Re-¢ January 1. 2007}

PROOF OF SERV|CE OF SUMMONS

Code ol Civn Proeea`urc § 417 10

